          Case 18-34527 Document 111 Filed in TXSB on 12/26/21 Page 1 of 1



                           UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION


 In re:                                            §
                                                   §         Case No. 18-34527
 BAILEY FOUR CANYON RANCH                          §
   PROPERTIES, LTD,                                §         (Chapter 7)
     Debtor.                                       §

                       TRUSTEE’S NOTICE OF ABANDONMENT

    THE TRUSTEE PROPOSES TO ABANDON CERTAIN SCHEDULED ASSETS
    OF THE ESTATE. IF YOU OPPOSE THE ABANDONMENT, YOU MUST FILE
    AN OBJECTION WITHIN 14 DAYS AS SET FORTH IN RULE 6007(A) OF THE
    FEDERAL RULES OF BANKRUPTCY PROCEDURE.

          1.     The Trustee determined after investigation that the real property referred to as Twin

Lakes in Tyler County, Texas, as described on Schedule A/B at Dkt. 102 is of inconsequential value

and/or is burdensome to the estate because there is no equity in the property realizable by the estate.

See 11 U.S.C. § 554(a); FRBP 6007(a).

                                                       Respectfully submitted,

                                                       /s/ Christopher R. Murray
                                                       4119 Montrose Blvd., Suite 230
                                                       Telephone: (832) 529-1999
                                                       chris@jmbllp.com
                                                       Chapter 7 Trustee

                                        Certificate of Service.

          I certify that on December 26, 2021, I served this pleading through the Court’s ECF system

                                                       /s/ Christopher R. Murray
